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6    Attorney for Robert Williamson, III and Cate Waken-Williamson
7
                                 UNITED STATES DISTRICT COURT
8
                                        DISTRICT OF NEVADA
9

10   ROBERT WILLIAMSON, III an individual,         BASE CASE NO.:
                                                   2:13-cv-01019-JAD- GWF
11
                    Plaintiff,
12                                                 MEMBER CASE NO.:
           vs.                                     2:13-cv-02022-JAD-GWF
13

14
     VICTORIA L. GUNVALSON, an individual;         MOTION TO RESCIND
15   DAVID BROOKS AYERS, an individual,            INTERLOCUTORY JUDGMENT FOR
                                                   ATTORNEY’S FEES OR, IN THE
16                  Defendants.                    ALTERNATIVE, MOTION TO ALTER
                                                   THE JUDGMENT
17

18
     DAVID BROOKS AYERS, an individual,            ORAL ARGUMENT REQUESTED
19
                   Counterclaimant,
20

21         vs.

22   ROBERT WILLIAMSON, III, an individual;
     CATE WAKEN-WILLIAMSON, an
23
     individual; and ANGELA TORRES, an
24   individual,

25                 Counterdefendants.
26

27

28
                        MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 1
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1           COMES NOW Plaintiff and cross-defendant Robert Williamson, III, by and through his
2
     counsel of record, A. Mark Wesbrooks, Esq. of The Wesbrooks Law Firm, P.L.L.C., and hereby
3
     moves for the Court to rescind its interlocutory judgment for attorney’s fees dated December 11,
4

5
     2015. In the alternative, Plaintiff hereby requests that the Court alter or amend the judgment.

6           Plaintiff and cross-defendant Robert Williamson, III, request that the Court defer entry of
7
     any judgment as to attorney fees, for reasons that: 1) the judgment being interlocutory, and
8
     subject to being revisited or set aside; 2) the judgment occurred through submission of
9
     misleading information that attorney fees were incurred on behalf of Defendant/Cross Plaintiff
10

11   when they were in fact occurred for more multiple parties who have not prevailed in the action;

12   3) the automatic stay of bankruptcy being in place at the time of entry of judgment and as such
13
     the judgment is void as a matter of law; and, 4) Defendant/Cross Plaintiff was not a prevailing
14
     party with respect to his claims, but rather, received summary judgment as to those claims made
15
     against him. The attorney fees that form the basis of the interlocutory judgment were for legal
16

17   services related to not only the defense of claims, but affirmative claims of Defendant/Cross

18   Plaintiff which remain unresolved, and upon which he is not a prevailing party.
19
            The Court’s Order on attorney’s fees was an interlocutory order as defined under Fed. R.
20
     Civ. P. 54(b), and as such the Court retains power to review, rescind, or modify the Order
21

22
     throughout these litigation proceedings.

23          The Order was granted by default following withdrawal of Plaintiff/Cross-Defendant’s
24
     Counsel. The Order remains an interrogatory order, although it has been embodied in the form
25
     of a judgment.
26
            Plaintiff/Cross-Defendant urges that the order was the product of false and/or misleading
27

28   information presented by way of affidavit of Defendant/Cross Plaintiffs previous counsel. In this
                         MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 2
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1    regard, the great majority of services giving rise to the claim of attorney fees were on behalf of
2
     other parties. Furthermore, claims of Defendant/Cross Plaintiff remain unresolved. In this regard,
3
     Defendant/Cross Plaintiff has not been afforded relief upon his claims that would give rise to
4

5
     entitlement of attorney fees and costs.

6            The relief requested in this Motion is proper for all the reasons set forth in the
7
     Memorandum of Points and Authorities attached hereto and incorporated herein by this
8
     reference.
9
                            MEMORANDUM OF POINTS AND AUTHORITIES
10

11           1.       HISTORY OF CASE

12           This lawsuit was filed on June 7, 2013. A subsequent lawsuit was filed on November 1,
13
     2013, and was consolidated with the prior action. David Brooks Ayes filed a Motion for
14
     Summary Judgment against Mr. Robert Williamson, III on November 14, 2014. On January 20,
15

16
     2015, Mr. Williamson’s attorney filed a Motion to Withdraw which was granted on January 23,

17   2015. The Court received notice that Mr. Williamson’s address, presumably provided by his
18
     former attorney, was incorrect on February 12, 2015. On June 25, 2015, the Court granted
19
     Defendant David Brooks Ayers’ unopposed Motion for Summary Judgment against Robert
20
     Williamson, III due to failure to respond to Mr. Ayes’ Motion for Summary Judgment.1 All other
21

22   parties remained in the litigation and Mr. Ayes’ counterclaims against Mr. Williamson also

23   remained following this Motion for Summary Judgment. On July 24, 2015, Mr. Ayers’ counsel
24
     filed a Motion for Attorney Fees. 2 On December 11, 2015, the Court ordered that a result of the
25

26   1
       Despite receiving an updated address from Mr. Williamson on February 27, 2015, it appears that the Order on the
     Motion for Summary Judgment was sent to an incorrect address. The Court received notice on July 21, 2015, that
27   Mr. Williamson did not receive a copy of the Order on the Motion for Summary Judgment.
     2
       Mr. Williamson did not respond to the Motion for Attorney’s Fees.
28
                            MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 3
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1    granted Motion for Summary Judgment, Mr. Ayes should receive attorney’s fees in the amount
2
     of $132,641.00. The Judgment for Attorney’s Fees was entered on December 14, 2015.
3
            On December 14, 2015 at 11:57 A.M., the first bankruptcy proceeding was filed by a
4

5
     party to this action, resulting in the action being stayed. The automatic stay, which was in place

6    for over a year, was in place on the date that the Judgment for Attorney’s Fees was entered. In
7
     January 2017, the United States Bankruptcy Court for the District of Arizona modified the
8
     automatic stay of bankruptcy to allow the present case to proceed through full adjudication of all
9
     claims on the part of respective parties through final judgment.
10

11          2.      THE JUDGMENT FOR ATTORNEY’S FEES ENTERED ON DECEMBER
                    14, 2015 WAS AN INTERLOCUTORY ORDER, NOT A FINAL ORDER.
12
            Black’s defines “interlocutory” as, “provisional; interim; temporary; not final. Something
13

14   intervening between the commencement and the end of the suit which decides some point or

15   matter, but is not a final decision of the whole controversy.” Black’s Law Dictionary, rev. 6th ed.
16
     (St. Paul, Minn.: West, 1990). With respect to interlocutory decisions, Rule 54(b), Federal Rules
17
     of Civil Procedure, states, “any order or other decision, however designated, that adjudicates
18

19
     fewer than all the claims or the rights and liabilities of fewer than all the parties does not end the

20   action as to any of the claims or parties and may be revised at any time before the entry of a
21   judgment adjudicating all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P.
22
     54(b); See Daprizio v. Harrah's Las Vegas Inc. (D. Nev., 2011). If a court wishes to direct a final
23
     judgment rather than an interlocutory one, Rule 54(b) further states that the Court only need say
24

25   it found “no just reason for delay.” Fed. R. Civ. P. 54(b). This phrase is required to finalize a

26   judgment when multiple parties and/or claims are involved and the judgment does not
27

28
                          MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 4
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1    incorporate all parties and/or claims. Corporation v. General Electric Company, 446 U.S. 1, 100
2
     S.Ct. 1460, 64 L.Ed.2d 1 (1980); Armed Forces Bank, N.A. v. DFA, LLC (D. Nev., 2015).
3
            The Order for attorney’s fees issued on December 11, 2015 and entered on December 14,
4

5
     2015, did not finalize claims against any of the other parties. The order did not even finalize all

6    the claims between Mr. Williamson and Mr. Ayers. Neither the Order of December 11, 2015 nor
7
     the judgment on December 14, 2015 utilized the magic language, “no just reason for delay.” See
8
     Doc. 86 and Doc. 87. Therefore, pursuant to Rule 54(b), the attorney’s fee order was an
9
     interlocutory judgment.
10

11          A.      BECAUSE THE ORDER WAS INTERLOCUTORY, THE COURT
                    RETAINS THE POWER TO RECONSIDER AND MODIFY THROUGH
12                  THE COURSE OF THE REMAINING CLAIMS.
13
            When a court does not utilize the “magic language” and an interlocutory judgment or
14
     decree is created, that court continues to possess the power to alter or amend its judgment. “As
15
     long as a district court has jurisdiction over the case, then it possesses the inherent procedural
16

17   power to reconsider, rescind, or modify an interlocutory order for cause seen by it to be

18   sufficient." Depasquale v. Nevada (D. Nev., 2012) (quoting City of Los Angeles, Harbor Div. v.
19
     Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001) (internal quotation marks and
20
     citation omitted) (emphasis omitted).
21

22
            Because the power over the judgment stays with the Court, an interlocutory judgment

23   cannot be appealed without the Court’s permission or until the entire matter has been concluded.
24
     Further, “[r]eview of interlocutory orders is generally disfavored, and the moving party has the
25
     burden of proving sufficient grounds exist.” Lybrand v. Livesay, 437 U.S. 463, 475 (1978);
26
     Shurance v. Planning Control Int'l, Inc., 839 F.2d 1347, 1348 (9th Cir. 1988); Leonard v. Hari
27

28   Om Ltd. (In re Hari Om Ltd.) (D. Nev., 2014). “Interlocutory appeals should be granted only
                         MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 5
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1    where: (1) the dispute concerns a controlling question of law, (2) there are substantial grounds
2
     for difference of opinion, and (3) an immediate appeal may materially advance the ultimate
3
     termination of the litigation.” Leonard v. Hari Om Ltd. (In re Hari Om Ltd.) (D. Nev., 2014)
4

5
     (quoting In re Cement Antitrust Litigation, 673 F.2d 1020, 1026 (9th Cir. 1982).

6             Because the Court issued an interlocutory order with regard to attorney’s fees, the Court
7
     retains power to modify or set aside the judgment for attorney’s fees. Further, because the
8
     judgment was interlocutory, Mr. Williamson does not have leave to appeal the judgment until the
9
     proceedings are finalized.
10

11            3.       THE INTERLOCUTORY JUDGMENT FOR ATTORNEY’S FEES WAS
                       BASED ON A MISREPRESENATION, AND AS A RESULT, THE
12                     JUDGMENT SHOULD BE SET ASIDE PURSUANT TO RULE 60(b)(3).
13
              Local Rule 54-14(c) requires an attorney affidavit to accompany any motion for
14
     attorney’s fees. In cases were the affidavit is not accurate and contains misrepresentations, Rule
15
     60(b)(3) states, “On motion and just terms, the court may relieve a party or its legal
16

17   representative from a final judgment, order, or proceeding for fraud (whether previously called

18   intrinsic or extrinsic), misrepresentation, or misconduct by an opposing party.” Fed. R. Civ. P.
19
              Pursuant to Local Rule 54-14(c), Mr. Ayers’ attorney, Sean P. Reis, Esq., provided an
20
     Attorney Affidavit to accompany the Mr. Ayers’ Motion for Attorneys’ Fees. In his attorney
21

22
     affidavit, Mr. Reis stated that he had excluded any work that was “exclusively attributable to

23   Woo Hoo and Gunvalson.”3 Doc. 81-2, Decl. of Sean P. Reis, Esq. In Supp. of David Brooks
24
     Ayers’ Mot. for Award of Att’ys Fees Pursuant to N.R.S. 18.010 And the Ct.’s Inherent Powers
25

26
     3
      Mr. Reis stated that he spent approximately 32 hours on work exclusively attributable to Woo Hoo and Gunvalson,
27   and that work was specifically Woo Hoo’s Answer and Gunvalson’s Motion for Summary Judgment. However, if
     one adds the time entries from Mr. Reis’ invoices that refer to these two subjects, the total time spent is 46.5 hours.
28   This results in approximately $5,727.50 in additional fees for Mr. Ayers against Mr. Williamson.
                             MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 6
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1    Against Pl. Robert Williamson, III, p. 3, ⁋5. Mr. Reis further stated that he had excluded any
2
     work that was “exclusively attributable to Ayers’ prosecution of his counterclaims.” 4 Doc. 81-2,
3
     p. 3, ⁋6. However, the numbers utilized by Mr. Ayers are not the total from the time entries he
4

5
     indicates are not related to Mr. Ayers’ defense. Based on the misrepresentation that all work for

6    other clients had been excluded, this Court ordered an attorney’s fee award that was not based on
7
     work exclusively on behalf of Mr. Ayers’ defense, resulting in a higher award of attorney’s fees
8
     against Mr. Williamson. As all the other claims, including Mr. Ayers’ counter-claims are still
9
     pending, an award of attorney’s fees based on work on those claims is premature and harmful to
10

11   Mr. Williamson and his pending claims.

12            In addition to the foregoing, the affidavit does not correctly state that a significant
13
     portion of the legal work and attorney fees were related to the prosecution of Ayers’ cross-
14
     claims, none of which have yet to be adjudicated in favor of Ayers.
15
              4.       AN OFFICER OF THE COURT MISREPRESENTED A MATERIAL
16
                       FACT AND THE COURT UTILIZED THIS IN ITS EVALUATION AND
17                     ORDER. THUS, A FRAUD ON THE COURT WAS COMMITTED, AND
                       IN ORDER TO RECTIFY THE INJURY CAUSED BY THE MATERIAL
18                     MISREPRESENATION, THE INTERLOCUTORY JUDGMENT SHOULD
                       BE SET ASIDE.
19

20            Mr. Ayers’ attorney, Sean P. Reis, Esq., is an officer of this Court. Mr. Reis’ attorney
21   affidavit contains material misrepresentations upon which the Court relied in making its decision
22
     for the award amount. All such misrepresentations resulted in a higher award for Mr. Reis’
23
     client. Mr. Reis swore to the Court that the number of hours performed on Ms. Gunvalson and
24

25   Woo Hoo’s claims exclusively was 32 hours. However, Mr. Reis’ invoices, complete with

26

27   4
       Mr. Reis stated that he had spent approximately 48 hours on work exclusively for Mr. Ayers’ counter-claims.
     However, if one adds the hours from the listed entries indicated in paragraph 6, the total number is 52.3 hours. This
28   results in $1,698.50 in additional fees for Mr. Ayers against Mr. Williamson.
                             MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 7
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1    lumped together time entries, indicates that this number was likely has high as 46.5 hours.
2
     Further, Mr. Reis swore to the Court that the number of hours performed exclusively on Mr.
3
     Ayers’ counter-claims was 48 hours. Again, in reviewing Mr. Reis’ time entries, the total hours
4

5
     for the entries involved is 52.3 hours. All of Mr. Reis’ misrepresentations in his affidavit resulted

6    in a higher award for Mr. Reis’ client. This misrepresentation by an officer of the Court resulted
7
     in an additional $7,426.00 in attorney’s fees being awarded against Mr. Williamson. As a result,
8
     the attorney’s fee award should be set aside. In the alternative, the Court should amend the award
9
     to reflect that actual time spent on Mr. Ayers’ defense.
10

11          5.      THE ATTORNEY AFFIDAVIT DOES NOT COMPLY WITH LOCAL
                    RULE 54-14(b)(2), AND AS A RESULT, THE AWARD FOR
12                  ATTORNEY’S FEES SHOULD BE RESCINDED.
13
            Local Rule 54-14(b)(2) on Motions for Attorney’s Fees requires a “reasonable
14
     itemization and description of the work performed.” This rule “contemplates a thorough
15
     breakdown of time including… what was being worked on, and the amount of time spent on the
16

17   particular item.” Shaw v. CitiMortgage, Inc. (D. Nev., 2015); Pacquiao v. Mayweather (D. Nev.,

18   2011). If the attorney’s affidavit is not thorough and/or a reasonable itemization and description
19
     of work is not provided, the Court may deem the failure as “consent to the denial of the motion.”
20
     L.R. 54-14(d). Further, in his or her affidavit, an attorney should identify “what portion of time
21

22
     spent attending depositions was spent on travel, so that the Court can determine if a lower travel-

23   time fee applies.” Rebel Commc'ns, LLC v. Virgin Valley Water Dist. (D. Nev., 2012).
24
            Mr. Reis’ affidavit does not conform to the reasonable itemization standard contemplated
25
     by Local Rule 54-14. Throughout Mr. Reis’s invoices, multiple activities are lumped together
26
     without itemizing the time spent on each such activity nor relating the activities to the actual
27

28   work being performed. As an example, Mr. Reis’ first entry lumps together five activities and
                         MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 8
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1    states that the total time for the five activities was 1.7 hours. To make matters worse, at least two
2
     of those activities were solo attorney-client communications between Mr. Reis and Ms.
3
     Gunvalson and nothing is noted to explain the topic of their communications. Because Mr. Reis
4

5
     failed to properly itemize his activities, the Court cannot properly determine the amount of time

6    spent on work related to Ms. Gunvalson’s claim and Mr. Ayers’ counter-claims.
7
             In addition to Mr. Reis’ noted non-defense-related work, in just the January 2014 invoice,
8
     Mr. Reis had eight communications with Ms. Gunvalson without Mr. Ayers. It seems improbable
9
     that all eight communications in January 2014, let alone the forty-four additional solo
10

11   communications over the next sixteen months, would be in furtherance of Mr. Ayers’ defense of

12   Mr. Williamson’s claims. 5 However, Mr. Reis fails to note the topic of the communications in
13
     his time entries as is required under Local Rule 54-14(b)(2). The following is the time entries
14
     from Mr. Reis’ January 2014 invoice that are attributable solely to one of the other parties
15
     represented by Mr. Reis.
16

17           “Date                          Description                                    Hours/Qty
              1/7/2014        Telephone conference with V. Gunvalson;…                       1.7
18                            correspond with V. Gunvalson;…
              1/7/2014        …correspond with V. Gunvalson;…                                 0.9
19
              1/9/2014        … correspond with V. Gunvalson                                  0.4
20   …
             1/14/2014        …correspond with V. Gunvalson…                                  1.8
21   …
22
             1/17/2014        …correspond with V. Gunvalson…                                  1.9
             1/18/2014        …correspond with V. Gunvalson                                   0.3
23   …
             1/22/2014        …review emails from V. Gunvalson…                               2.5”
24

25   Doc. 81-2, Ex. A. Because these entries are not itemized by task, one is unable to ascertain the

26   amount of time Mr. Reis took performing tasks that were exclusively related to other parties or
27
     5
      Mr. Reis also had fifty-three joint communications and meetings with Ms. Gunvalson and Mr. Ayers in that same
28   period, as well as dozens of solo communications with Mr. Ayers.
                            MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 9
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1    claims. Due to this failure to thoroughly itemize, the Court cannot assess the reasonableness of
2
     activities solely related to Mr. Reis’ representation of Mr. Ayers’ defense of Mr. Williamson’s
3
     claims. As a result, the Court should rescind the attorney’s fee award. In the alternative, Mr.
4

5
     Williamson is requesting that the Court amend its order, subtracting one hundred percent of the

6    lumped time entries which are mixed with Ms. Gunvalson’s claims and Mr. Ayers’ counter-
7
     claims, as well as the time entries which include solo communications with Ms. Gunvalson.
8
            6.      AS THE INTERLOCUTORY JUDGMENT WAS BASED ON AN
9                   ATTORNEY AFFIDAVIT THAT DID NOT COMPLY WITH THE
                    STANDARD AND HAD MISREPRESETATIONS THROUGHOUT, THE
10
                    JUDGMENT SHOULD BE SET ASIDE PURSUANT TO RULE 60(b)(6).
11
            Rule 60(b)(6) states, “On motion and just terms, the court may relieve a party or its legal
12
     representative from a final judgment, order, or proceeding for any other reason that justifies
13

14   relief.” Fed. R. Civ. P. Further, Rule 60 requires that motions based on Rule 60(b)(6) be made

15   “within a reasonable time.” Id. “What constitutes 'reasonable time' depends upon the facts of
16
     each case, taking into consideration the interest in finality, the reason for delay, the practical
17
     ability of the litigant to learn earlier of the grounds relied upon, and prejudice to other parties.”
18

19
     Ashford v. Steuart, 657 F.2d 1053, 1055 (9th Cir. 1981).

20          This matter was stayed due to bankruptcy proceedings immediately following the
21   interlocutory order for attorney’s fees. In January 2017, the bankruptcy court granted relief from
22
     the stay so that this litigation could proceed. Further, as previously discussed, this order is an
23
     interlocutory order, and as such, these is no finality in this order as of the date of this filing.
24

25   Additionally, the Court has retained the right to review, rescind or modify the order through the

26   completion of litigation of all matters, and said litigation and discovery period is ongoing as of
27
     the date of this filing. Therefore, Mr. Ayers and all other parties would not be unduly prejudiced
28
                         MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 10
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1    if the Court were to choose to exercise the rights it retained (to reconsider, rescind, or modify) in
2
     relation to its order on attorney’s fees.
3
             As previously stated, the attorney affidavit did not conform with the reasonable
4

5
     itemization standard and contained material misrepresentations regarding subtracting all work

6    that was for other clients or other remaining claims. Mr. Williamson requests that this Court find
7
     that in the interest of equitable justice, the Order for Attorney’s Fees be rescinded or amended.
8
             7.      IN THE ALTERNATIVE, THE COURT SHOULD ISSUE A STAY OF
9                    EXECUTION PURSUANT TO RULE 62(h) UNTIL THE COMPLETION
                     OF ALL MATTERS AND ORDER THAT THE ATTORNEY’S FEE
10
                     AWARD BE OFFSET BY ANY AWARD RECEIVED UNDER OTHER
11                   CLAIMS BY MR. WILLIAMSON.

12           Rule 62(h) allows the court to stay enforcement of a judgment when there are multiple
13
     parties and/or claims involved in a litigation, but only some of the issues have been resolved.
14
     Fed. R. Civ. P. In this case, there are multiple parties and claims, but only Mr. Williamson’s
15
     claims against Mr. Ayers have been resolved. In addition to Mr. Williamson’s claims against
16

17   other parties, Mr. Ayers’ counterclaims against Mr. Williamson are still pending in this

18   litigation. Allowing Mr. Ayers to enforce his interlocutory judgment against Mr. Williamson
19
     prior to the conclusion of all claims would cause undue harm to Mr. Williamson and his pending
20
     claims in the instance proceedings. Further, a stay would not unduly prejudice Mr. Ayers’ and
21

22
     his claims as the Court has retained power over this order.

23           8.      CONCLUSION
24           The Court’s Order on attorney’s fees was an interlocutory order in which the Court

25   retained power to review, rescind, or modify the order throughout the litigation proceedings. This
26
     Order was based on Mr. Reis’ attorney affidavit, which did not conform to the reasonable
27
     itemization standard as activities from most days are lumped together without providing detail on
28
                         MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 11
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1    topics or specific timing for each activity. Further, Mr. Reis’ attorney affidavit contained
2
     material misrepresentations regarding removal of work provided exclusively for other clients and
3
     Mr. Ayers’ counterclaims.
4

5
             WHEREFORE, Mr. Williamson respectfully requests, in the interest of equitable justice,

6    that this Court rescind its order for attorney’s fees issued against Mr. Williamson. In the
7
     alternative, Mr. Williamson respectfully requests that this Court amend its order completely
8
     remove all work conducted on behalf of other clients or Mr. Ayers’ counterclaims. Further, Mr.
9
     Williamson requests that this Court stay the enforcement of the Order until the completion of
10

11   litigation of all claims.

12

13   Dated: January 17, 2018                     THE WESBROOKS LAW FIRM, P.L.L.C.
14

15
                                                 By:    _/s/ A. Mark Wesbrooks
                                                        Wesbrooks Law Firm, PLLC
16                                                      Attorneys for Robert Williamson, Cate-
                                                        Wakem Williamson and Vicki’s Vodka,
17
                                                        LLC
18

19

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28
                          MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 12
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1                                   CERTIFICATE OF SERVICE
2            I, Mark Wesbrooks, hereby certify that on January 17, 2018, I filed through the Court’s
     ECF system and served either through the ECF system or by electronic mail the foregoing
3
     document described as: MOTION TO RESCIND INTERLOCUTORY JUDGMENT
4    DATED DECEMBER 11, 2015 OR, IN THE ALTERNATIVE, MOTION TO ALTER
     THE JUDGMENT using the Court’s electronic filing system. A copy of the foregoing
5    document(s) will be served via the Court’s electronic filing system on interested parties in this
     action, or by email/regular mail as follows:
6

7    2:13-cv-01019-JAD-GWF Notice has been electronically mailed to:

8    Edward Randall Miley
     emiley@mileylaw.com
9

10   Sean Patrick Reis
     sreis@reisfirm.com
11

12
     Tony L. Abbatangelo
     LasVegasLawoffice@gmail.com
13
     Boris Treyzon
14   btreyzon@actslaw.com
15

16   Regular First Class Mail, and as Indicated on same date:
17
     Brooks Ayers
18   8594 E. 116th Street, #246
     Fishers IN 46038             via US Mail and via email
19
     Angela Torres
20
     6715 Rim Rock Circle, Northwest
21   Albuquerque, NM 87120

22   Michael Nicholson
     P.O. Box 32
23
     Calistoga, CA 94515
24
     /s/Mark Wesbrooks
25

26

27

28
                        MOTION TO RESCIND OR ALTER INTERLOCUTORY JUDGMENT 13
